Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 1 of 61

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Thisefioht for y LEry i OR a me -~ this
fight..for.our country justo begun +} just began;
I'm sorry.
BY MR. LOCKER:
Q. Detective Harry, do you believe there is probable cause

to support each and every element of each of the offenses
alleged in this complaint?
A. I GO.

THE COURT: Pass the witness.

MR. FILES: Would it be appropriate to take a break
at this time, Your Honor?

THE COURT: I was just going to suggest that,
Mr. Files. We have been going for a while. We are going to
take a 15-minute recess.

We will be in recess.

COURT SECURITY OFFICER: All rise.

(Recess was taken at this time.)

COURT SECURITY OFFICER: All rise.

THE COURT: Please be seated.

Mr. Locker, you passed the witness, right?

MR. LOCKER: Prior to taking my seat, I need to
make a correction that I learned of during the break. I
learned from Ms. Hall with Mr. File's office that the videos

that came from Mr. Nichols' GoPro device that were provided

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 2 of 61

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to Counsel and then provided to the Government are a subset
of a larger number of files that the Defense is in possession
of.

All of us have been working long hours and are
under very tight time constraints. I certainly understand.
It is one of the things where I understand that the reason we
don't have those digital files was simply due to time
constraints.

And so if I left a false impression with the Court
that the lack of files is attributable to the Defendant, I
need to correct that; and that is why I wanted to bring that
to the Court's attention.

THE COURT: All right. Thank you very much.

All right. Cross-examination.

MR. FILES: May it please the Court.

CROSS-EXAMINATION
BY MR. FILES:
Os In the old days, it was Detective Harry. Now it is Task
Force Officer Harry. You could be Mr. Harry. How would you
prefer that I address you, sir?
A, It really doesn't matter, Mr. Files. Whatever you are
most comfortable with.
Q. Tf I just say Mr. Harry, is that okay?
A. It doesn't bother me at all.

Q.. Thank you, sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 3 of 61

64

i You had indicated to us that you had participated

2 to some significant extent in coming up with the material

3 that is in the criminal complaint, but that you had not done

4 all of it. Is that a fair beginning?

5 A. That's correct, yes, sir.

6 Q. So you would be abie to go through and look at the

7 complaint and be able to draw a circle around or square

8 around or something or brackets and indicate what part of

9 this complaint you were responsible for, and that would leave
10 the rest of it that someone else is responsible for. Is that
11 correct?
12 A. I would say it is a collective project. Certainly, we
2 worked on all of it together and have reviewed most all of it
14 together.
15 MR. FILES: Your Honor, may I approach the witness? _
16 THE COURT: You may.

17 BY MR. FILES:

18 ©. I hand you my copy of the complaint, and ask you Lf you
19 would look at it and see if you can go through and identify
20 those parts which are really yours. It is primarily your | ~
21 work product that is included.
22 A. Okay.
23 O. Do you have a pen? ‘pits
24 A. I do, sir.

25 Would you like just a star out beside it? Would

 

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 4 of 61

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that be okay?
Q. Just brackets or something just to show what is yours?
A. (Witness complies.)

I want to be clear that this is not my words
verbatim. They have been tweaked around here and there by
attorneys and things like that and the other investigator.
Q. But that still does show --

A. These are things that I have intimate knowledge of.
QO. Thank you, sir.
Let's sort of go backwards rather than frontwards.
Let's go back to that low-flying aircraft.
A. Yes, sir.
Q. You have been a task force officer for a better part of
five years?
A. Yes, sir.
QO. You are familiar with Federal United States Grand
Juries?
A. Yes, sir.
Q. Have you ever testified in front of a Grand Jury?
A. I have.
Q. Are you in and out of the United States Attorney's
Office on a regular basis?
A. I am.
Q. You are aware that the United States Attorney's Office

is responsible for the prosecution of federal crimes that

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 5 of 61

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would happen in the Tyler Division of
Texas, the folks here, correct?

A, Yes, sir. Uh-huh.

Q. You have talked about a low-flying alreraft,
A. Correct.
Q. Shots being fired. Witnesses being interviewed. To

your knowledge, was that Case ever presented to a United

States Grand Jury?

A. No, sir.

Q. is there a case pending at this Particular time on this
issue?

A. I wouldn't say there is a case pending before the Grand
Jury. We are investigating the matter.

Q. It is currently an investigation?

A. Correct.

Q. And when did this occur?

A. Sir?

he When did these events -- when are they supposed to have
occurred?

A. The plane incident?

Q. Yes,

A. April 23rd, 2020.

OG: April 23rd, 2020. This is January of '21. That means
nine months ago?

A. Roughly.

the Eastern District of

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 6 of 61

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4 Q. And nothing has been done?
2 A. That's correct.
3 Q. Correct.
4 Let's talk about neutral and detached witnesses.

5 You talked about an assault case in Gregg County, and you
6 have got some folks saying one thing and you have got some
7 folks saying another. But because someone else gives a
8 version that matches up with one of them, you put stock in it
9 because that person is a neutral and detached witness; is
10 that correct?
11 A. And it matches another -- the statements of another
12 neutral and detached witness, yes, sir.
13 Q. But you don't know whether these people are neutral and
14 detached or whether they have a bias or prejudice against my
15 client. You don't know what their relationship is in the
16 past. You don't have any way of saying they were neutral.
17 You simply have two witnesses or one witness who backs up one
18 side and not the other.
19 A. I think that is fair.
20 om Is that a fair statement?
21 A. Absolutely.
22 Qs Let's go to the long video, the one that started at .59.
23 How many times have you had the opportunity to look at
24 that?

25 A. Unfortunately, I have watched it several times. I don't

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 7 of 61

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know that I have stared at it just without glancing away one
whole time altogether, if that makes any sense. But we have
watched certainly bits and pieces a lot.

Q. And what have you learned from that video concerning my
client other than he is in the crowd -- correct?

A. Yes, sir.

QO. Did you try to figure out approximately how many other
people were in the same crowd doing some exactly -- some of
the exact same things that he was doing?

A. Other than just watching it and kind of just in my mind
making a guesstimate, no, there hasn’t -- I certainly have
not counted, if that is what you are talking about.

QO. Would you guess a hundred, 150 people?

A. I think that is probably fair.

Q. And is it fair to say that many of them were doing
almost exactly the same thing?

A. At certain points of time in the video, yes, sir.

Os You would agree with that?

A. I would.

Q. Now, you have talked about what you could hear from the
bullhorn?

A. Yes, sir.

Ow With the exception of the bullhorn, could you hear what

he was saying while he was in the crowd?

A. While Mr. Nichols was in the crowd, no, sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 8 of 61

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em So he was there for a long period of time. For a short
period of time he had a bullhorn. You believe from another
video you can match up with what he is saying there. But
that is the only thing that you could match up as far as what
he is saying?

A. As far as what he is saying, yes, sir. I think that

is -- other than if we are excluding what he has posted on
social media?

Q. Yes.

A. Verbally, yes, I agree.

Or And there are other people who seem to be as involved in

that event as he was, correct?

A. At certain points in time, at certain things ~--

Q. There are people who are actually breaching and going
in?

A. Sure, yes, sir.

Q. There are people who are going over the top?

A. Yes, sir.

Q. Correct?

A. Correct.

0: There are people throwing things toward the inside?
A. Correct.

0. And he is not doing any of those things?
A. No. And in the same way that some other people aren't

using -- not everybody is using pepper Spray, not everybody

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 9 of 61

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has got a bullhorn, so certainly --
Q. We will come back to those. I am just talking about
what he is not doing.
A. Okay.
Q. And what he is not doing is the same thing that the
other people are also not doing or maybe they are doing.

How long was he in the building? Were you able to
determine that?
A. My best guesstimate, Mr. Files, is a couple of minutes.
We have not had a chance to parse through Capitol security
footage to get at a good time. That is just an off-the-cuff

guess at this point.

Q. So, roughly, he is the building plus or minus two
minutes?

A. Your guess is as good as mine, sir.

Q. I thought a couple of minutes -- short amount of time?
A. I have no reason to believe he was in there for hours or

anything like that, but I am not prepared to speculate --

Q. You have no knowledge or belief that he has done
something in the inside as far as destruction of property,
assaultive conduct, theft, going through secure documents,
anything like that. You simply know he went in, and he came
out. Is that correct?

A. As it pertains to Mr. Nichols, yes, sir, that's

correct.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 10 of 61

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Q. Okay. You mentioned that his companion in the case
was ~~ came to the window and was stirring up the crowd. [
think those were your terms. Is that correct?

A. Yes, sir.

Os Okay. And Mr. Harkrider is up there. He says
something. And you say he stirred up the crowd.

A. I don't know if he said anything, but he is up there
and -- you know.

Q. Could you tell the crowd was behaving any differently
after he came out and did that (waving arms) than they were
before? Was there really a difference between how the crowd
behaved when he came out and how they were behaving before?
A. I don't think so. Not anything discernible, no.

Q. So, really, it would be maybe a stretch to say he
stirred up the crowd? He simply made some movements and the
crowd was making noise, and they continued to make noise;
isn't that a fact?

A. I think it is a -- this conduct is great -- it is
certainly not, go away, this is bad. If anything, it is,
this is okay, and the party is inside. Come on in.

Q. Were the decibels any greater after he did this than
they were before?

A. Not that I -- no, not anything that I could discern,
no.

Q. Thank you sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 11 of 61

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Let's talk about the spray.
A, Okay.
Ow Tell me what you observed, sir, as you watched that
video and as you watched it in the past, just the video
about -- with the spray.
A. He is in the crowd. They are close to the entrance to
that Capitol building with the -- you saw the wooden -- I

don't know what you call that, but wherever that arch is. He
has got his face mask up, his boonie hat on, and the gloves.
The pepper spray -- or the can that I believe is the pepper
spray -- is being passed. You see him motion, hey, give me,
here. He takes it. Sprays it in the direction of the
opening where the officers are; we know them to have been.
Kind of pauses and goes back and gives it another little go.
And then passes the canister back off.

Q. And you talk about people reacting to the spray?

A. Yes, sir.

QO. Have you been pepper sprayed?

A. Unfortunately, yes, Sir.

Q. And you know what it feels like?

A. Té Ls not ==

Q. It is not good?

A. It is not.

Oy And there were people there that were reacting to it?
A. Yes, sir.

 
Case 1:21-cr-
1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 12 of 61

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Q. What is the name of the officer, if there was one, who
actually got sprayed?

A. Fair question. That is something we are exploring, but
t don't have the name of a specific officer.

Q. you can't tell from that video that was played that an
officer was actually sprayed, can you? From this video that
was played for the Court, can you tell that definitively that
an officer was sprayed?

A. Tt think it is fair to say 1 cannot identify the name of
any specific officer that is sprayed. yeah, I think that is
fair.

Q. And you can't tell for certain that an officer was
sprayed. There was somebody sprayed. But you can't tell
that there was an officer sprayed from the video that was
played for the Court?

A. So we know that there were police there, okay, in that
exact space. But, again, I cannot identify a4 specific
officer who was hits

Qs I'm not saying specific officer. We're saying any
officer. There is -- clearly, he takes it, he sprays ity He
takes it, he sprays it again. But the question is, does he
hit an officer with the spray? And from the video that was
played, 1 challenge you to tell me that you can tell an
officer was actually hit.

As I believe that officers were hit.

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 13 of 61

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Q. You believe it because you tell it from the video?

A, That's correct,

Q. There were other People who had Shields there, weren't
there?

A. Yes, sir,

Oa So you had Civilians with Shields, you had officers with
shields, correct?
A. I think that is fair, yes, sir.
Q.. And there was a Shield there, you could see the shield;
but there is no officer behind the shield that you could
identify as being an officer, is there?
A. I believe there are officers -- you could see through
those translucent Shields. I believe those subjects are
officers.

Q. There are people back there; you would agree with that?
A. Yes, sir, I think they are officers.

Q. But your investigation has not come up with Specifically

who the officers were or what they were doing cr whether they
were hit?

A. It is a fair question. Tf Cannot give you the name of
any specific officer who was there. That's fair,

Q. You don't have any information that would tag

Mr. Nichols to the possession of a firearm at any time while
he is there at the Capitol, do you?

A, On Capitol Grounds?

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 14 of 61

1 () « Yes.
2 A. No, sir.

3 Ors Absolutely nothing?

4 A. Not a firearm, no, sir.
5 Qs Absolutely nothing having to do with a firearm there.
6 The question was asked about a D.C. statute and

7 would a box comply with the D.C. statute. And simply stated,

8 I think you were candid when you said you didn't know what

9 the statute was.
10 A, I do not.

11 QO. If there was a box, if there was a weapon in a box.

ear

12 if, if. You can't say that was a violation of a D.C. statute

13 or that was not a violation of a D.C. statute?

14 A. That's correct. I'm not comfortable speculating on
15 that.

16 Ow Okay. How did you get in touch with Mr. Nichols?

17 A. Ryan? The Defendant?

18 Q. Yes.

19 A. We called -- so during the day of the search warrant,

20 one of the Longview PD officers who knows Mr. Nichols somehow

24 and had reached out to him while our SWAT team was there

22 trying to execute the warrant at his house. Nobody had come

23 to the door.

24 We were trying to get in touch with him before we

25 made entry. The information that was related to me was that

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 15 of 61

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Mr. Nichols had called that officer back. That officer then
relayed that information to another task force officer who
called me and said: Hey, Nichols called. He wants the FBI
person who is responsible to call him.

I then called Mr. Nichols -- excuse me -- on the
phone number that IL had for him that we had been trying to
call. His wife answered the phone and then told me he was on
his way back to Texas.

OC . So, basically, the word went out that y'all were

interested in him. You have a conversation. The wife said

he is on the way. He comes in and surrenders. Is that

correct?
A. Yes, I did talk to him in between that time. But,
yes

He came in?

Q

A. That's correct.

Q Didn't hide, didn't run, didn't go away?

A No, sir, not to my knowledge. He came right to us. If
he was in Oklahoma, he made good time.

OQ. And it is your understanding that he was at his wife's

place, and you don't have any reason to doubt that is

correct?

A. Not at this point, no, sir.

Q. Did you talk to the wife up there?
A. Yes, Sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 16 of 61

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1 Q. Wife's place. Wife is there. He gets the word. He
2 comes back home. He doesn't run away ~~
3 A. Yes, sir, that's correct.
4 Q. -- correct?
5 Nothing to show that while he was at the Capitol he

6 had on body armor?
7 A. I'm sorry?
8 Q. Nothing to show that while he was at the Capitol he had
9 on body armor?
10 A. So we can see in the video he is wearing what I
11 recognize to be a plate carrier. And I believe our
12 information from Mr. Harkrider's interview was that they each
13 had one armor plate in the front panel of those carriers;
14 that Mr. Harkrider had a plate, and Mr. Nichols had a
15 plate.
16 Os And that would be what you would be relying on. But
17 there was nothing in the videos or any other information that
18 would show he had a plate?
19 A. That's correct.
20 Q. You talked about having empty pistol boxes. Anything

21 unusual about having an empty pistol box?

22 A. Other than there is a pistol that belongs to it
23 somewhere, and I don't know where it is.
24 Os Do you have pistol boxes at your house?

25 A. I do, but my pistols are not too far away.

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 17 of 61

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Os You normally keep your pistol in a pistol box or ina
holster?
A. No. I keep it in a holster, but, I mean, when I am at

home and my pistol box is there, they are in the attic, the

pistols are there in the home with --

Q. Yes.

Are you aware of when Mr. Nichols left the Capitol
Grounds?
A. As far as a time, no, sir, I don't. I presume he went
home on January 6th at some point -- or left the grounds at

January 6th, but I don't have a hard time.

Q. Talking about the demonstration, all the people are
there, he is there. Do you have any of idea when he left?

Is there any way you can tell from the video, if nothing else
by the fact you simply can't see him anymore?

A. From the longer video that we watched, and I know we cut
it off before the conclusion of it, they do appear to kind of
walk out of the frame from up near the Capitol. My
understanding is, and forgive me, I am not sure if it is in
this video or another video, that they do walk to the edge

of -- it has been a long time since I have been at the
Capitol, but where they kind of were is an elevated position,
a platform -- I don't have a better term for it. But my
understanding is that in another video or maybe that same

video that they walked to the edge towards the railing, if

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 18 of 61

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you will, to kind of look out.

But, to my knowledge, that is kind of the last
little bit we have of them. I don't have any information to
say that they went back up towards the Capitol or went inside

after that, beyond what you have seen here.

Q. How many officers do you know that have had PTSD or that
have PTSD?

A. You mean police officers?

Q. Yes.

A. I don't have a number. But I know it is not uncommon.
Q. It's not uncommon at all, is it?

A. No, sir.

Q. And, obviously, these people have managed to function as

police officers even with PTSD?

A. BR lot of people function with PTSD.

Q. But you seem to be concerned that there might be a
problem on my client being released because his father said
he had PTSD?

A. Yes, Sir.

©. So if it is an officer, it is okay to have PTSD. If it
is a defendant in a case, he can't have PTSD because he may
not show up or he might be a problem. Is that what you are
saying?

A. Not at all. I think -- this was a pretty traumatic

incident, certainly being charged with criminal offenses,

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 19 of 61

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potentially losing some freedom is going to trigger a
reaction or response from him, a stressful response. I am
concerned that that response will affect him adversely. I am
concerned for him, for his safety.

O« Are you aware of what he has been doing as far as a
nonprofit organization for years now?

A. To the best -- open source research, I believe I am
aware of --

Q. What is that?

A. -- the rescue, rescue the world -- Rescue the Universe.
They go in after natural disasters, tornadoes, hurricanes,
tropical storms, fires, and try to rescue people that have
been stranded -- that are stranded --

Q, Are in the water?

A. Exactly. Exactly.

Q. They are in trouble or lost?
A. Sure.
QO. So you have been aware that he has been doing this for

some particular length of time?

A. I don't know how long he has been doing it, but I am
aware it has been going on for a little while, yes, sir.
©. You realize that there are many, many causes of PTSD,
and you don't necessarily have to do something bad to have
PTSD; you understand that, don't you?

A. Sure.

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 20 of 61

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Q. You spoke of Mr. Nichols' father, Mr. Nichols, Sr.,
talking to you?

A. Yes, sir.

0: He interviewed you for what -- or you fnbervbewad him

for 36, 38 minutes, something like that?

A. Something like that.

0. Was he cooperative?

A. Absolutely.

Q. He is a minister; do you understand that?

A. t don't know that -- he told us that, but I don't know

that from any other source ~~
Qs Didn't play hide the ball with you or anything?

A. Not at all.

MR. FILES: Your Honor, I need just a moment to
flip through and see what Mr. Harry has marked here on this
affidavit.

{Pause in proceedings.)

BY MR. FILES:

Os What were you looking for in the search warrant that you
obtained?

A. So for Mr. Nichols' house, in particular --

Q. Yes, sir.

A. -- we were looking for any items of indicia to establish

that he lived there. I was looking specifically for the

clothing that he wore during the Capitol incident on January

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 21 of 61

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6th, again, the boonie hat, the vest, the jacket -~ excuse
mé -- that green beaded necklace that you might have noticed
in there, the yellow gloves, crowbar, the GoPro mount and
GoPro camera, and then -- I'm sorry -- any electronic devices
which might have captured media during the time he was there,
any devices where he might have transferred the media he
captured, i.e., plugged my GoPro or cell phone into a
computer, the data transfer is there, those kinds of things,
as well as any type of paperwork receipts, boarding passes to
indicate travel to Washington, D.C., or places that he stayed
along the way, and some other things on there. But that is

the meat and potatoes.
Q. At simplest, anything that would tie him to being in

Washington, D.C., on or about January 6th of 2021?

A. That's correct.
O. Pictures, or anything, without regard to what it was?
A. Correct.

MR. FILES: Your Honor, may I approach the witness?
THE COURT: You may.

BY MR. FILES:

QO. I hand you what is numbered as Page 11 of your
affidavit.

A. Okay.

QO. If you would, just read that to yourself, and I have a

question for you, sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 22 of 61

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A. Additional video evidence shows Nichols near an entrance
to the U.S. Capitol -- near the U.S. Capitol building in a
large crowd actively forcing entry into the building, which
was guarded by U.S. Capitol Police. During the video, the
screenshot of which is shown below, Nichols can be seen
taking a large red aerosol canister from another person in
the crowd and spraying an unknown agent believed, based on
its appearance, to be OC/pepper spray in the direction of the
entrance into the U.S. Capitol building where federal law
enforcement officers were engaged in the performance of
official duties, that is, seeking to restrain a mob of
individuals who were forcing entry. Figures 8 and 9 below
are still shots from the OC/pepper spray video with arrows
indicating Nichols' clothing and suspected OC/pepper
canister.
oO. This goes back, sir, to what we were talking about
earlier. The language that you have in here: Spraying an
unknown agent believed, based on its appearance, to be
OC/pepper spray in the direction of the entrance into the
U.S. Capitol building where federal law enforcement officers
were engaged in the performance of official duties; that is,
seeking to restrain the mob of individuals who were forcing
entry.

Now, what you say is, he sprayed it in the

direction of the Capitol building where federal law

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 23 of 61

84

iL enforcement officers were engaged in the performance. You
2 don't say he Sprayed at them. You don't say he Sprayed and
3 hit them. You Say that he sprayed in the direction of the

4 entrance where some officers were,

5 IT am correct in my reading of this Page 11, aren't
6 I?
7 A. That is what it says, yes, sir.

8 Q. Thank you.

9 Let's talk about once again what isn't there.
10 A. Okay.
11 Q. Just coming home and watching the news, and maybe you
12 have had enough that you didn't do that, but there have been
13 hours and hours of footage of this demonstration on the 6th,
14 haven't there?

LS A. Yes, sir.

16 0. And either in the performance of your duties in

17 investigating this case or simply because you were interested
18 in it, you have watched at least some of that, correct?

19 A. Yes, six.

20 Q. Okay. And there are pictures of people with various

21. items breaking out windows, going through windows; you have
22 seen that?

23 A. Yes, sir. It was on the video we played.

24 Q.. Breaching?

25 A. Yes, sir,

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 24 of 61

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O And you have no reason to believe that Mr. Nichols was
engaged in that conduct?
A. As far as to the breaking of the windows?

Q. Things like that.

A. I don't have any evidence --

or Forcible breaching in order to get inside the Capitol?
A. tT don't have any evidence --

Q. No evidence tying him to being close to the Senate
Chambers?

A. Mr. Files, I am not familiar enough with the U.S.

Capitol to know where he was in the building. Whether that
is close to the Senate side, the rotunda, the House side, I'm
not familiar enough with that to speak intelligently about
40
QO. And the question is, you don't have anything to tie him
to being at the Senate Chambers or the House Chambers?
A. No, sir, not as f sit here, that's correct.
Q. Thank you.

MR. FILES: May I have a moment, Your Honor?

THE COURT: Yes.

MR. FILES: Thank you. One moment.
BY MR. FILES:
©. Once again, we have nothing to tie Mr. Nichols to having
possession of an AR-15 at the Capitol Grounds on January 6th,

2020 [sic]?

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 25 of 61

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A. Physically possessing it on Capitol Grounds, no, sir.

MR. FILES: That's all at this time. Pass the
witness.

THE COURT: All right. Redirect?

MR. LOCKER: Briefly, Your Honor.

REDIRECT EXAMINATION

BY MR. LOCKER:
Q. Detective Harry, is OC spray like bullets, in that it
hits one target in a linear path and whatever it hits, it

hits, and that is the end of it?

A. No, not necessarily.

QO It is a liquid; is that correct?

A. Correct.

Q. Tt balances and aerosolizes. So if you are ina

confined space in which OC spray is sprayed, does it matter,
in terms of whether or not you are affected, where you are
hit directly? As in it may affect you more if you are hit
directly in the face, if it hit your arm, or the back of your
head or your chest or your leg, in that tight of a space, is

it still going to affect you?

A. And in larger spaces, yes, and I think the video shows
that.
QO. Mr. Files in his questioning used the term "breaching"

in a very technical sense. It sounds like what he meant was

the act of breaking down a barrier.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 26 of 61

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A. That is what I understood him to mean.
Q. In the first part of the video we displayed, Mr. Nichols
and Mr. Harkrider are both participating as the crowd heaves

and hoes as they try to force in that gap of that doorway?

A. That's a good point, yes.
Q. Would you agree that that constitutes breaching?
A. Yeah. I just don't know whether they were successful in

that endeavor or not.

Q. But they were at least attempting that at that point?
A. Correct.
Q. And in a broader context of the term “breaching" as we

have used in terms of breaching the Capitol, Mr. Nichols, in
fact, did breach the Capitol, meaning he entered the Capitol
building at a time when he was prohibited from doing so. Is
that correct?
A. Yes, they both did.
on Do you know how Mr. Nichols knows Mr. Harkrider?
A. My understanding is that they are both United States
Marines or former United States Marines. I'm not sure if
that is how they met, as I sit here. But I know they worked
together in the not-for-profit organization that we discussed
earlier. I know they at least know each other in that way
and appear to be friends.

MR. LOCKER: I'll pass the witness.

THE COURT: Anything further, Mr. Files?

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 27 of 61

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MR. FILES: Briefly.
RECROSS-EXAMINATION
BY MR. FILES:
Os Sir, you have been in a crowd at sometime, I assume,
where everybody was trying to get through the doors --
A. Yes, sir,
©: ~~ and it was one of these if you had claustrophobia,
you would really be uncomfortable --
A. Yes, sir.
o. “~~ correct?
A. Yes, sir.
Q. So in a crowd where people are going heave and ho, there

is no question but that Mr. Harkrider and Mr. Nichols were in
that area, correct?

Be Correct.

Q. But they weren't up at the place where they could
actually push and try to get in. They were back in the crowd

someplace surrounded by human beings.

A. I'm going to disagree with that.

Q. You are telling me they were at the door pushing on the
door?

A. No.

Ou No.

A. But that is the value in the whole crowd push. We all

do it together; and by the force of 30 or 40 of us, we are

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 28 of 61

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you want to “- I'm not a, you know, physicist or whatevely
put to push that door through.
Q. And you are not telling us that they were pushing into
the crowd and the crowd was moving together and that they
were pushing people in front of them in order to try to break
down the door. You are not telling us that, are you?
A. It looked very organized. Yes, I believe --
Q. I didn't ask about organized. t'm asking about
Mr. Nichols. And you are not telling us that he was doing
chat, and I am gesturing pushing my hands from rear to front
as though trying to force my way through? You are
not telling -- that is not on the video, is it?
A. I believe -- well, not necessarily fully hands extended,
put I certainly believe the video depicts him engaging in the
push with everybody else. I do believe it depicts that.

MR. FILES: Pass the witness.

THE COURT: Anything further?

MR. LOCKER: No, Your Honor.

THE COURT: All right. Mr. Harry, you may step
down.

THE WITNESS: Thank you, Your Honor.

MR. LOCKER: The Government rests, Your Honor.

THE COURT: All right. Mr. Files, who will be your

first witness?

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 29 of 61

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MR. FILES: May I have just a moment, Your Honor?

THE COURT: Yes.

MR. FILES: Your Honor, we will call Bonnie
Nichols.

THE COURT: Ms. Nichols, come forward, please. If
you will come right over here toe the edge of the witness box.
Yeah, we are going to ask you to come around. Thank you. If
you will just stand right there and raise your right hand to
be sworn.

(Witness sworn.)

THE CLERK: Thank you. Have a seat.

BONNIE NICHOLS, DEFENSE WITNESS, SWORN,
DIRECT EXAMINATION

BY MR. FILES:

Q. Please state your name.
A. Bonnie Nichols.
Q. Ms. Nichols, how do you know Mr. Nichols, who has been

sitting there with me today?

A. That is my husband.

Ou. How long have you been married?

A. We have been married for seven-and-a-half years.

Q. Would you keep your voice up just a little bit, please,
ma'am?

A. Yes, sir.

Q. Do you have any children?

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 30 of 61

91

1 A. Yes, sir. We have two boys, ages 6 and 4.

2 OQ. Let's talk about you just a little bit so the Court wiil
3 have some background when we get into the issue of

4 third-party custodian.

5 How old were you when you graduated from high

6 school?

q A. I was 16 years old.

8 0. And when you graduated, what did you do then?

9 A. I went off to college and got a job quickly after.
10 Os Did you also ~~ or where were you in college?
aL A. I went to San Jacinto College and U.T. Arlington in
12 Dallas.
13 Q. How long did you continue in your studies there are U.T.

14 Arlington?

15 A. About two years.

16 Q. And why did you discontinue your studies?

17 A. I met Ryan shortly after.

18 0. How did you meet him?

19 A. I met him online while he was stationed in Okinawa,
20 Japan.

21 Q. He was in the Marine Corps?

22 A. Yes, sir.
23 QO: And did you eventually get married?
24 A. Yes, six, we did.

25 Q. Was he still in the Marine Corps when you got married?

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 31 of 61

92
1 A. Yes, Sir, he was.
2 On And did you live aboard the base there at Camp
3 | Pendleton?
4 A. Yes, sir.
5 Q. At some time he got out of the Marine Corps, and what
6 did you and he do?
7 A. We came back to Texas to be with our family and start a
8 business shortly after, named Wholesale Universe.
) Cs What kind of business did you~all start?
10 A. We have a business that we purchase generally from big

1i box retailers like Macy's, Dillard's and Bloomingdale's. And
12 we buy wholesale pallets at deep discounted prices and sell

13 and resell and wholesale online and offline to clients.

14 Q. Where is your business located?

15 A. In Longview, Texas.

16 QO, Do you have a significant inventory?

7 A. Yes, sir, we do.

18 Q. What about Longview -- what all do you do in Longview

19 besides just be a family and participate in that business?
20 A. We are members of Mobberly church.

21 Os What church is that?

22 A. Mobberly church is one of the biggest churches in

23 Longview, Texas. We are active members there.

24 Q. Deo y'all go there on a regular basis?

249 A. Yes, sir, we do.

 

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 32 of 61

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Q. Who all is employed there at the business?
A. We have about 10 to 15 staff members depending on the
year ~~ or depending on the time of the year.
O. Do you work in the business yourself?
A. Yes, sir.
Q. Does Ryan also work in the business?
A. Yes, sir, we both own the business jointly.
Q. Is there another business, or nonprofit I should say, a
S501{c) (3), that Ryan is participating in?
A. Yes, sir, Rescue the Universe.
Q. And what is the nature of that business?
A. They provide relief efforts in search and rescue for
animals and humans and all life to help others.
Os What kind of search and rescue does he do? I mean, what

kind of event causes him to be involved in that?
A. Any natural disaster, hurricane, tornado, fire,
flooding. Anything that requires health or relief support

around the world.

Q. Hurricanes?

A. Yes, sir.

Or Tornadoes?

A. Yes, sir.

O. Was he doing that even before you got married?
A. Yes, sir. Since he was young.

QO. Approximately, as best you can recall, how many

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 33 of 61

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hurricane rescues has he participated in?
A. 15 or more.
Q. Has he received national recognition for this?
A. Yes, sir, he has.
o. What kind of recognition or publicity has he gotten for
CnLS?
A. He has been recognized by Ellen DeGeneres, A&E, Daily

Mail, ABC News, The Weather Channel, and many others.

MR. FILES: Your Honor, we furnished copies of the
pictures we have, to the Government. We have a total of
four, which we would like to show, and would offer those at
this time.

MR. LOCKER: No objection.

THE COURT: Objection?

befense Exhibits 1 through 4 will be admitted.

You may show those, Mr. Files.

BY MR. FILES:

Q. I show you what has been admitted as Defendant's

Exhibit 1. Can you tell us what that is, what is it a
picture of?

A. That is, I believe, in Beaumont, Texas. I can't recall
the hurricane. I don't know if it was Sally or -- it was one
of the really bad floodings down in Beaumont, Texas, where
they provided relief and rescued children and elderly out of

drowning waters.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 34 of 61

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Q. Is there anything unusual about the boat in which they
are?
A. That boat was donated by Ellen DeGeneres.
Q. Did she give you a choice of spending money for that or
something else?
A. Yes, sir. She offered us a honeymoon, that we never got
to receive. And instead of going to Hawaii, we decided --
Ryan decided to get a rescue boat to continue his rescue
etforts.
Q. And are the people in there, other than Ryan,
Mr. Harkrider, are they people who were rescued?
A. Yes, sir.
Q. I show you what has been admitted as Defendant's
Exhibit 2. I ask if you can tell us what that is?
A. I believe that was a rescue in Louisiana of an elderly
woman that was needing rescue. Her house was flooded, and
she could not -- she was disabled, and so we -- they went in

there and rescued her with the Cajun Navy.

Gx I show you what has been admitted as Defendant's
Exhibit 3. Can you tell us what that is, and who is the guy
in the sarong?

A. That young gentleman was missing for over 24 hours, him
and his wife, in a lake in Louisiana. Their boat had
capsized, and Ryan and Alex went out with the Cajun Navy to

go and rescue that man, and they found him.

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 35 of 61

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Exhibit 4. Can you tell us what that is?

A. That is Ryan Harkrider -- ['m Sorry, Ryan Nichols and
Alex Harkrider in Search and rescue efforts rescuing humans,
children, animals, and all life. I believe that was
Beaumont, Texas,

0. Did your husband and his colleague, do they wait for
everything to be over, or do they go in while things were
still hot and heavy?

A, They go in the day before the storm hits so that they
can figure out where the flooding areas are and regroup and
game plan before the storm hits.

Q. Approximately how many days a year would you suggest
that your husband has been involved in this kind of rescue
work?

A. Per year, I would say 50 to 75 days a year. Any chance

that they get, they go.

Q. Has this effort -- has this taken a toll on your
husband?

A. Yes, sir.

Q. Do you have any concerns about his PTSD or having PTSD

as a result of it?

A. Yes, sir, I do.
0. Is he still able to function even with that?
A. Yes, sir, he is.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 36 of 61

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0. Are you aware of an incident when he was in the Marine
Corps which also would have caused PTSD?
A. Yes, sir.
D.. And would you describe that for us?
A. I know that while he was stationed in Okinawa, Japan,
there was a man that tried to climb the fence. I don't
know if -- I know that he was a threat, and Ryan was on duty

patrolling and making sure that the military base was secure,

and he almost had to shoot the man to protect the base.

Oy Did that appear to impact him?
A. Yes, sir, it did.
Q. Now, the term “suicidal ideation" has been mentioned

earlier. Do you have any concern about your husband

committing suicide?

A. No, sir, I don't.

Qs What does he live for?

A. His family and to serve -- serve the community and his
boys.

Q. Tell me about his relationship with his boys.

A. He is an amazing father. He loves his boys. And I

couldn't imagine a better father for my children.

On Now, you had mentioned Cajun Navy. Can you tell us what
the Cajun Navy is?

A. So I believe the Cajun Navy is a search and rescue group

of men and women in the Louisiana area that provide search

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 37 of 61

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and rescue efforts to serve the community during natural
disasters of any shape or form.

Q. And has your husband also worked with the Coast Guard?
A. Yes, sir, he has.

O. During Hurricane Michael and maybe another hurricane?
A. Yes, sir, helicopter rescues, Hurricane Michael.

Q. Is he supposed to be recognized on yet another
television show later this year?

A. Yes, sir, I believe in April The Weather Channel.

Q. And what was that for?

A. That was for one of the last hurricanes that he
participated in.

Q. Are there any firearms at your home at this time?

A. No, sir, there is not.

O Do you do drugs?

A. No, sir.

QO. Do you do alcohol?

A. No, sir.

Qs Do you have alcohol or drugs in your possession at your
home?

A. No, sir.

Ox We have -- we are asking the Court to permit you to be

what is known as a third-party custodian?
A. Yes, sir.

Q. If the Court were to permit -- or is to permit your

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 38 of 61

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husband to be released, one of the things that she can
require is that there be a human being designated as a
third-party custodian to see that -- to give reasonable

assurance that your husband would appear, 465 required, for

court?
A. Yes, sir.
Q. We have talked about that.

You understand that the Court would have certain
conditions, and I want to go through these with you. Remain
in the custody -- in your custody. Who agrees to assume
supervision and to report any violation of a release
condition to the Court if the designated person is able to
assure the judicial officer that the person will appear as
required and will not pose a danger to the safety of any

other person of the community.

A. Yes, Sit.
Q. Let's go to the gut issue. You are married to him?
A. Yes, sir.

0. You love him?

A. Yes.

oO. He is the father of your children?
A. Yes, Sir.

Ox You want him to come home?

A. Yes, sir.

Q. At some point in time he is going to go to court in the

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 39 of 61

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District of Columbia or perhaps here in the Eastern District
of Texas?

A. Yes, sir.

0. When he goes to court, there is always the possibility
that he gets convicted and sentenced to a term in the
penitentiary; you understand that?

A. Yes, sir.

Os Now, if you were a third-party custodian, you would have
taken an oath to report any violation that you would observe
of his violating any condition of probation that the Court

might impose?

A. Yes.
Q. You love your husband?
A. I do,

oF Can you tell the Court that you would really pick up the
phone and call her or call somebody else if you observed him
to do something wrong?

A. You bet I would. You have my word. I am a woman of
integrity. And I will make sure that he shows up in court on
time, I will make sure he Stays out of trouble. And I will
put my thumb down on him because not only do my children
depend on him, but I depend on him. Our business and our
livelihood depends on it. $0 you have my word that I will
make sure that he shows up in court.

0. He will be required to maintain employment there at the

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 40 of 61

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business.
A. Yes, sir.
O-. If he needed to, he could be required to commence an

educational program, but that might be unlikely. He would be
required to abide by specified restrictions on personal
associations, places of abode, or travel. For example, he
would be told probably not to leave the Eastern District of
Texas except to travel directly to and directly from the
District of Columbia for court appearances?

A. Yes, sir.

Q. He would be told that he could not, for example, have
conversations with Mr. Harkrider or be around him, The Court
would set out those things that he could not do. Be proper
and common for him to be ordered to report on a regular basis
to a pretrial services agency of the United States
Government. Would you see that he would do that?

A. Yes, six, I will.

Ox Comply with a curfew. If the Court told him that he had
to be home at 8:00 o’clock or 7:00 o'clock or 10:00 o'clock,

or whatever it was, you would work to see that he was doing

that?
A. Yes, sir, I will.
O.. Refrain from possessing a firearm, destructive device,

or other dangerous weapon?

A. Yes, sir, I will.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 41 of 61

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Q. Refrain from excessive use of alcohol or any narcotic

drug or controlled substance --

A. Yes, sir.

Qs -- without a prescription from a licensed medical
practitioner?

A. Yes, sir, I will.

QO. Undergo such medical or psychological or psychiatric

treatment, including treatment for drug or alcohol

dependency, and remain in a specified institution if required

for that purpose?

A. Yes, sir, I will.

Q. Something that is not mentioned in the United States

Code but would be a restriction on his freedom would be for

him to wear a GPS device so that there would be no issue

about where he was at any time, perhaps at his own expense.
Would you agree that you would help him on that if

that is required?

Res Absolutely, I will.

MR. FILES: Defendant's Exhibit 5 would be a
pd-214. We furnished the state ~~ or the Government. Excuse
me. We furnished the Government with a copy of it.

We would offer Defendant's 5 at this time.

THE COURT: Any objection?

MR. LOCKER: None from the Government,

Your Honor.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 42 of 61

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THE COURT: It is admitted.

MR. FILES: That is absolutely impossible to see
unless the Court's eyes are better than mine. May I simply
publish it?

THE COURT: You may.

MR. FILES: Thank you.

Name: Ryan Taylor Nichols. Department, component
and branch: United States Marine Corps. Social Security
number omitted. It is there, but no reason to read it into
the record.

Grade, rate, or rank: Corporal. Pay grade: &4.
Date of birth: eee ua, Reserve obligation
termination date. Place of entry into active duty:
Shreveport, Louisiana, 71118. Home of record at time of
entry: It's in Diana, Texas.

Last duty assignment and major command: 9th
Communication Battalion, Camp Pendleton. Station where
separated: Marine Corps Base, Camp Pendleton. Primary
specialty: Tactical Switching Operator, one month, five
days. Construction wireman, one month, 11 days.

Record of service. Date entered: 2010, 10 months,
18 days. Separation date: 2014, 10 months, seven days.
Active service this period: Four years. Total active
service: Four years. Foreign service: One month, 11 days.

No, excuse me. Ili months, one day -- one year, 11 months,

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 43 of 61

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one day.

Sea service: None. Additional entry training:
Four months, 21 days. Effective date of pay grade: 2012.
May 5th -- May lst on that date.

Decorations, medals, badges, citations, campaign
ribbons: Marine Corps Good Conduct Medal, Global War on
Terrorism Service Medal, National Defense Service Medal, Sea
Service Deployment Ribbon, Expert Rifle Qualification.

Military education: Communications cable and
antenna service apprentice -- communications antenna systems
service. Accrued days leave: 2.5.

That is really all that would be relevant.

May I have one moment, Your Honor?

THE COURT: Yes.
BY MR. FILES:
QO: And, in summary, if the Court permits him to be
released, you would assist in seeing that he complied with
each and every condition of release that she might impose?
A. Yes, sir. You better believe. You have my word.

MR. FILES: Pass the witness.

THE COURT: Cross~examination?

CROSS-EXAMINATION

BY MR. LOCKER:
Q. Ms. Nichols, I only have a few questions for you.

AB. Yes, sir.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 44 of 61

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Q. Are you aware of your husband's drug usage?
A. I am aware.
0. What substances are you aware that your husband uses?
A. Marijuana.
Q. Do you have any awareness of him using Ketamine, LSD --
A. No, sir, I do not.
Q. -- DMT?

So if he is doing that, he is doing that without
your knowledge?
A. Yes, sir.
Ou And if he is discussing that with his friends, he is
doing that without your knowledge?
A. Yes, sir.
Oe So you would agree that even under this limited area we

have probed, the only area that we have probed so far, there
are areas of his life that you can't control even if it is in
your best interest to do so; is that correct? I mean, you
would agree it is not in your best interest for your husband
to be a regular drug user, would you agree, particularly
psychodelic drugs?

A. Can you repeat that question?

Os Would you agree it is not in your business's best
interest for your husband to be a user of psychedelic

drugs?

A. Yes, sir, I agree with that.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 45 of 61

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Q. So it would also be in your best interest to know about
that and control it and attempt to prevent it, and yet you

have been unable to; is that fair?

A. I believe that now I am aware and I can control it and I
Will.

Os Does your husband own an AR-15?

A. Yes, sir, he does.

Os Why was it not at your house when the search warrant was
executed?

A. Because it was with him.

Q. In Oklahoma?

A. Yes, sir.

Qs You took it with you to Oklahoma; is that correct?
A. Yes, sir.

Ox Did your husband know he was likely to be arrested?

A. Tt do not know that.

0. Did you have discussions with your husband about his

concerns about law enforcement contact in the future after
his involvement on the 6th?

A. We did have conversations about that, yes, sir.

Q. Were you aware that he had removed the clothing from

your home that he had worn to the Capitol on the 6th?

A. No, sir.

0. The boonie hat, the armor plate carrier, the GoPro

videos. Did you see your husband spending a lot of time on

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 46 of 61

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the computer?
A. No, sir.
QO. So you don't know what happened to any of those
devices?
A. We turned the GoPro in to the attorney.
QO. You would agree that the person in those images is your

husband, right? We are not disputing --

A. Yes, sir, they are.

OQ. And so you would agree that, naturally, law enforcement
should have expected to find those clothing items in your
home when they executed the search warrant; is that

correct?

A. Yes, sir.

O. And yet they didn't?

A. That's correct.

©. And so this is now a second area that, despite your
conscientious observance of your husband, you are unaware
that he has removed evidence from your home, and he has taken
efforts to evade detection of his conduct. Would you agree
with that?

A. I don't agree with that. I feel that they haven't --
they may not have been found at the home. But, I mean, I am
open to figuring out where they are and finding them. TI

mean, absolutely. Whatever we can do to cooperate, we

will.

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 47 of 61

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Oe Dees your husband have a second home?
A. No, sir.
Qn Se all of his clothing and personal effects should
generally be found in his home or in his vehicle; is that
fair?
A. I would say most of everything should be at the home.
Q. So if the officers, like you said, if they just expected

to find those items and they didn't is because he probably
consciously made an effort to make sure they were not found
at the time the search warrant was executed?
A. I don't know. I don't know. I am not -- I wasn't
there. I didn't have the articles of clothing. I don't know
how to answer that question.

MR. LOCKER: I will pass the witness.

THE COURT: Any redirect, Mr. Files?

MR. FILES: May I have just a moment?

THE COURT: Yes.

REDIRECT EXAMINATION

BY MR. FILES:
0. In its simplest, has your husband ever done some
psychodelic drug at the house?
A. Not that I know of.
O. Never -- would he do it around the children?
A. No, sir, absolutely not.

O. Are you aware of any drug use on his part other than

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 48 of 61

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marijuana?
A. Other than marijuana, that's it.
Gs And when has he been interested in using marijuana?
A. Only when he is stressed and uses it for anxiety to help

him sleep and to calm himself.

Q. After coming back from a mission?
A. Yes, sir.
MR. FILES: Pass the witness.
THE COURT: Any recross?
MR. LOCKER: No, Your Honor.
THE COURT: All right. Ms. Nichols, thank

you. You may step down.

THE WITNESS:

THE COURT:
MR. FILES:
moment?
THE COURT:
MR. FILES:
THE COURT:
All right.
MR. LOCKER:
MR. FILES:

THE COURT:

Thank you, Your Honor.
Mr. Files?

We pass the witness. May I have just a

You may.
We rest.
You rest.
Anything further?
No, Your Honor, Government closes.
We close.

All right. Then at this time [I will =~

the Government can argue its motion.

MR. FILES:

Oh, I apologize. I had one other

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 49 of 61

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thing. Excuse me.

THE COURT: Okay.

MR. FILES: I had furnished the Government with it,
and we just didn't get there. I apologize, Your Honor. I
know better than that.

THE COURT: That's all right, Mr. Files.

MR. FILES: Under the provisions of Title 18,
Section 3142(f), we have a proffer. We have furnished the
state -- the Government -- I keep saying state -- the
Government with a copy of the proffer, and it would be
difficult, so may 1 read it?

THE COURT: You may.

MR. FILES: Thank you.

To the Honorable Judge Mitchell. I went to
Washington, D.C., because I believed that is what the

resident asked us to do.

On January 6th, I was at the Capitol for
approximately 45 minutes to an hour. I did not go into the
House or Senate Chambers. I did not steal anything. I did
not damage anything or take anything as a souvenir. I left
when the President posted on Twitter and Facebook for
everyone to leave. Sol did.

I know that I am going to have to go to court in
Washington, D.c. I am sincerely asking that I be released on

bail and be permitted to travel to Washington, D.C., with my

 
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ase 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 50 of 61

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wife, Bonnie, and legal team, including Buck Files and
associates.

As a Marine, I never failed to be where I was told
or ordered to be. The moment that I discovered that I was in
trouble, I drove four~plus hours to turn myself in.

I promise that I will be in court whenever and
wherever I am told, so help me God. My intention in life has
always been to do the right thing even when it felt
uncomfortable, such as now. And I will do what is required
by the Court.

Signed, Ryan Taylor Nichols, Sts

Now we vest. Close.

THE COURT: Mr. Locker, I gave Mr. Files an
opportunity to reopen briefly. Do you have any rebuttal
avidence to that evidence?

MR. LOCKER: No, Your Honor.

THE COURT: Okay. All right. You may argue your
motion.

MR. LOCKER: This is not a peaceful protest. if
you have a weapon, you need to get your weapon. By his own
words and actions, Mr. Nichols was not a peaceful protestor.
A peaceful protestor does not storm the Capitol attached with
gear, carrying a crowbar, and heave-ho with the crowd and
push into the doors of the Capitol and use a bullhorn to whip

the crowd into a frenzy and encourage them to commit acts of

 

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 51 of 61

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viclence or request other rioters to hand them a canister of
OC spray and then use it to assault Capitol Police
Officers.

Nichols did not get Swept up in the moment,

Your Honor. He and Mr. Harkrider made specific preparations
for a violent confrontation. He researched weapon laws in
D.C. He assembled a weapon box for the trip. He discussed
D.C. being a war zone and preparing for battle, with

Mr. Harkrider. He acquired body armor en route.

He engaged in a verbal confrontation with D.C. law
enforcement the night before. And he brought a crowbar to
the protests.

He is also a drug user of both marijuana and
psychodelic drugs, who has already acquired the means to
assist him with avoiding detection.

He has violent tendencies. He shoots at low-flying
planes. He travels to the airport with a rifle to resolve a

problem that should be handled by law enforcement and the

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AA.

He is a source of fear for his neighbors.

He assaults construction workers and lies about it
to police.
He is known as a hothead to his business neighbors.
And he verbally assails and intimates threats to

D.C. law enforcement the night of January 5th.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 52 of 61

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He has called into question his mental stability,
including statements from his father that he suffers from
PTSD and that he has expressed, to his father at least,
suicidal ideation.

Regarding weapons, we know he is armed, but his
AR-15 was not present at his home before it was searched. We
also know he is engaged in obstructive conduct. He removes
evidence, clothing, weapons, a camera ~~ subject to
correction, may not be the same camera -- and body armor.

He also instructed Mr. Harkrider to destroy
evidence. He changed his appearance in preparation for
arrest. And he sanitized his social media.

And, finally, he has no ties to the District of
Columbia except for criminal contact -- conduct.

And if there is still doubt as to whether or not
Mr. Nichols plans to comply with the law, we should listen to
his own words: We will not bend. We will not break. We
will never give in. We wili never give up. We will never
surrender. Headed home to better reorganize. The fight for
our country has just begun.

Every insurrectionist thinks he is a patriot.

Every revolutionary things he is justified. As Marines, both
men took an oath to defend the Constitution, but instead they
helped lead an assault on the nation it governs.

As grand as our Government buildings are and as

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 53 of 61

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eloquent as our founding documents, our nation is much
greater than buildings or documents or flags or individual
leaders. Our nation's bedrock is the mutual assent to a
guiding body of principles, that being individual liberty,
individual responsibility, the rule of law, and
accountability.

By violently storming the Capitol, these men
assaulted those principles. They significantly contributed
to what could be an existential threat to the continuation of
our Republic. Many Americans are now wondering whether a
nation can hold fast, can remain bound together, amidst the
current climate of which this riot is the low point.

Whether it is an existential threat or one we will
overcome largely depends upon how we respond to the crimes
committed on January 6th. There is a legitimate question as
to whether or not the inconsistent and often tepid response
to this past summer's riots sewed the seeds for January 6th.

We cannot answer that question today, but what we
can know is our response now will be watched by those
considering the next chapter in our nation's unfolding crisis
of divisiveness. We will not deter the next cycle iff we wink
at these crimes or coddle those that commit them.

Detention strongly sends the -- signals the
seriousness of which we view these crimes.

The vast majority of Americans present that day at

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 54 of 61

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the Capitol committed no crimes. Some committed only
misdemeanors. But those who stormed the Capitol with weapons
encouraging others to commit acts of violence committed or
contributed to the acts of violence themselves, bragged about
doing so on social media and then sought to destroy evidence
of their conduct prior to arrest, most certainly are among
those that should be detained.

THE COURT: Thank you.

Response?

MR. FILES: May it please the Court.

So we have a criminal complaint that has conspiracy
and unlawful entry with dangerous weapon, violent entry and
disorderly conduct, civil disorder, assault on a federal
officer using a deadly or dangerous weapon and aiding and
abetting.

The Court should obviously find whether or not
there is probable cause to believe the -- that there is
evidence as to these offenses. And we have seen video. And
the Court, I am sure, has seen video outside this courtroom
of what happens at the Capitol.

I would respectfully suggest that the Government is
lacking on evidence that there was an intentional assault on
a federal officer using a pepper spray, using a deadly

weapon.

And if I can find Mr. Harry's exact words, I will

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 55 of 61

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parrot them back for the Court.

I don't have it marked. I have to go through it.

MR. LOCKER: Page ll.

MR. FILES: It is page 11. Thank you.

The Government's words. This is what they say
happened. This is what they have to show the Court probable
cause to believe this happened. They do not say that my
client assaulted an officer by the use of pepper spray. They
say that, based on the appearance of what appeared to be OC
pepper spray, that in the direction of the entrance to the
U.S. Capitol building where federal law enforcement officers
were engaged in the performance of their official duties that

he had sprayed an unknown agent. Not at the officers, not
hitting the officers, but in the direction of the entrance
where they were.

I would respectfully suggest that you can look at
that video 7,000 times and not be able to ascertain that
there was an officer who was hit by pepper spray. And that
is clearly the most significant issue here. Did he have
pepper spray? Sure he had pepper spray. Did he spray with
pepper spray? Of course, he did.

Did he spray it with the intent to hit an officer?
Did he hit an officer? Did he use it to harm an officer? He
fired in the direction or sprayed in the direction of the

entrance where officers were.

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 56 of 61

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I would respectfully suggest that the Government
has certainly not, on that, met its burden.

Without a question of whether the Government has in
that or in the other charges, Mr. Nichols is going to be
required to answer charges in the United States District
Court for the District of Columbia. The question is, does
the Court detain him, or does the Court release him?

Probation officers have recommended release.

You have heard our suggestion for a third-party
custodian.

Mr. Nichols has not been a lifetaker; he has been a
lifesaver. How unique is it for an individual to have been
on as many as 15 hurricanes at his own expense, 501(c) (3), to
try to help people and save lives. And we gave you just a
taste, a smattering of his success in doing that.

Ellen DeGeneres gives him a boat instead of paying
for a honeymoon, and he takes it and uses Lt.

When his wife was on the witness stand and I asked
her about whether or not she would actually be a third-party
custodian or whether she might just not -- she might just let
it go, what was her body language? How did she appear? Did
she appear to be a truthteller? I would respectfully suggest
that she came across as being an absolute truthteller using a
thumb, putting her thumb; he would be under her thumb. I

have no doubt that what she was saying was from her heart and

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 57 of 61

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from her head.

Use of drugs. Has her husband ever used a
psychodelic? I don't know. She has never been around him
when he has. One of the things that the Court would be
telling her is you have to make certain that he only uses
prescription medication and only in accordance with the
dosage that the doctor prescribes. Not psychodelic drugs,
not marijuana, not anything else. He has to do these and no
others.

These conditions are conditions that are imposed
day after day after day in United States courts. And people
carry them out and people function as third-party custodians
and there is no reason to believe that this case would be
different.

Obviously, there is not evidence before the Court,
but it is I think common knowledge for any of us who were
following it, the guy that sits in Pelosi's chair is out. He
is not detained. The one who steals Pelosi's laptop is out.
She was not detained.

I can't give statistics on how many people are out
and how many people are in. But we don't look at the case
and say everybody who participates ought to be there. The
Court has seen the pictures of the people trying to break in
the Senate Chambers and the House Chambers and breaking into

the Capitol, knocking the windows out, using shields. We do

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 58 of 61

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not have that in this case.

We respectfully suggest that we have given the
Court every reason in the world to release our client on
reasonable conditions; and that if we looked for a hundred
years, we could not find a better third-party custodian than
the lady whom we have suggested to you, the Defendant's wife.

THE COURT: Thank you, Mr. Files.

As it is the Government's motion, any final word?

MR. LOCKER: Just briefly, Your Honor. The
affidavit is only a small portion of what the Court has ~~
the Government has asked the Court to consider regarding
evidence for the elements. It is also supplemented by the
testimony of Detective Harry and the exhibits presented today
in court. There is more than ample evidence for the Court to
find that there is probable cause for all of the elements for
all of all of the offenses.

In addition to that, I need to correct a
misstatement by Mr. Files. The individual who -- from the
Western District of Arkansas, who has appeared with his feet
on Ms. Pelosi's seat -- whose feet was on Ms. Pelosi's desk,
he is, in fact, detained.

Although the judge for the Western District of
Arkansas ordered his release, the Government immediately
appealed that, and that was granted. He is in custody en

route to Washington D.C. And I cannot speak for what has

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 59 of 61

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been done across the rest of the country, but I can tell you
with certainty within this district, 100 percent of the
individuals who have been charged with felonies for their
involvement on January 6th have been detained, and none of
them, none of them, other than Mr. Nichols or Mr. Harkrider,
carried weapons into the Capitol.

THE COURT: Thank you.

All right.

MR. FILES: I apologize if I have misled the Court.
My understanding was that the order of release had been
given. We were unaware of the appeal.

THE COURT: Thank you, Mr. Files.

I appreciate the testimony and the evidence
provided today from both sides and both attorneys’ arguments.

In light of the testimony, I do find that there is
probable cause to believe that an offense has been committed
and that Nichols has committed it.

In addition, based on what I have heard today
concerning the nature of the charged offense, I do not
believe that there are conditions that could reasonably
assure the safety of the community or Mr. Nichols’
appearance.

Pretrial Services does recommend release. However,
the testimony I have heard today paints a picture not of a

peaceful protest that got out of hand, but of a planned and

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 60 of 61

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predetermined, premeditated attempt to attack the Capitol.

The text messages lay out a plan to drive to D.C.
with weapons and to acquire body armor on the way. I saw
evidence of threats and antagonizing language toward the
crowd. And over and over again evidence shows intent that
this was not to be a peaceful act.

I am concerned about evidence of other acts in the
past, as well as substance use.

And for these reasons, Mr. Nichols will be detained
pending trial.

I will enter an order detaining the Defendant.

Is there anything further from the Government?

MR. LOCKER: No, Your Honor.

THE COURT: Anything further from the Defendant?

MR. FILES: No, Your Honor.

THE COURT: All right. We are going to be
adjourned on this case.

We will take a brief recess to reset for
Mr. Harkrider.

COURT SECURITY OFFICER: All rise.

(Hearing adjourned.)

 
Case 1:21-cr-00117-TFH Document 57-7 Filed 11/09/21 Page 61 of 61

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CERTIFICATION

I HEREBY CERTIFY that the foregoing is a true
and correct transcript from the stenographic notes of the
proceedings in the above-entitled matter to the best of my

ability.

/s/ Shea Sloan February 5, 2021
SHEA SLOAN, CSR, RPR
Federal Official Court Reporter

 
